              Case 2:17-cv-01708-JCC Document 124 Filed 11/27/19 Page 1 of 3



                                                          HONORABLE JOHN C. COUGHENOUR
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                           IN THE UNITED STATES DISTRICT COURT
 9
                         FOR THE WESTERN DISTRICT OF WASHINGTON
10                                     AT SEATTLE

11
     WILD FISH CONSERVANCY,                             Case No. 2:17-cv-01708-JCC
12
                                                        JOINT MOTION FOR ENTRY OF
13          Plaintiff,                                  CONSENT DECREE
14   v.
                                                        NOTE ON MOTION CALENDAR:
15   COOKE AQUACULTURE PACIFIC, LLC,                    January 21, 2020
16          Defendant.
17
18                                              MOTION
19          Plaintiff Wild Fish Conservancy (“Conservancy”) and Defendant Cooke Aquaculture
20
     Pacific, LLC (“Cooke”) hereby jointly move the Court to approve and enter the Consent Decree
21
     filed herewith.
22
                                      STATEMENT IN SUPPORT
23
            The Conservancy filed this action under the citizen suit provision of the Clean Water Act
24
     (“CWA”), 33 U.S.C. § 1365, alleging that Cooke is in violation of its National Pollutant
25
     Discharge Elimination System (“NPDES”) permits for its Atlantic salmon net pen facilities in
26
     Puget Sound.
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29
     JOINT MOTION FOR ENTRY OF                         KAMPMEIER & KNUTSEN PLLC EARTHRISE LAW CENTER
     CONSENT DECREE - 1                                  221 S.E. 11th Ave., Suite 217   10015 SW Terwilliger Blvd.
     Case No. 2:17-cv-01708-JCC                            Portland, Oregon 97214          Portland, Oregon 97219
                                                               (503) 841-6515                  (503) 768-6825
              Case 2:17-cv-01708-JCC Document 124 Filed 11/27/19 Page 2 of 3




 1          The Conservancy and Cooke (collectively, “Parties”) have agreed that settlement of this
 2   matter is in the public interest and that entry of the Consent Decree is the most appropriate
 3   means of resolving this matter.
 4          In accordance with section 505(c)(3) of the CWA, 33 U.S.C. § 1365(c)(3), and 40 C.F.R.
 5
     § 135.5, copies of the Consent Decree will be served on the United States Attorney General, the
 6
     Administrator of the United States Environmental Protection Agency, and the Regional
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     Administrator of Region 10 of the United States Environmental Protection Agency. The Consent
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     Decree may not be entered prior to forty-five (45) days following receipt by both the
 9
     Administrator and the Attorney General. See 33 U.S.C. § 1365(c)(3). The noting date for the
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     Court’s consideration of this matter has been scheduled accordingly.
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12          The Parties respectfully request this Court enter the Consent Decree.

13          RESPECTFULLY SUBMITTED this 27th day of November, 2019.

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     JOINT MOTION FOR ENTRY OF                          KAMPMEIER & KNUTSEN PLLC EARTHRISE LAW CENTER
     CONSENT DECREE - 2                                   221 S.E. 11th Ave., Suite 217   10015 SW Terwilliger Blvd.
     Case No. 2:17-cv-01708-JCC                             Portland, Oregon 97214          Portland, Oregon 97219
                                                                (503) 841-6515                  (503) 768-6825
            Case 2:17-cv-01708-JCC Document 124 Filed 11/27/19 Page 3 of 3




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     JOINT MOTION FOR ENTRY OF                       KAMPMEIER & KNUTSEN PLLC EARTHRISE LAW CENTER
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